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 Attorneys for Plaintiff Bryon Jackson

                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION

 BRYON JACKSON,                            )                  Case No. 3:21-cv-08458-LB
                                           )
    Plaintiff,                             )
                                           )
 v.                                        )                  PROOF OF SERVICE
                                           )
 TARGET CORPORATION,                       )
                                           )                  Judge:      Hon. Laurel Beeler
    Defendant.                             )
                                           )
 _________________________________________ )


         I hereby certify that today, January 25, 2024, I served all counsel of record who have consented

 to electronic service with a copy of the following file via electronic mail:

     1. Manually Filed Exhibit P to Plaintiff’s Motion in Limine No. 4 (Docket No. 120-5)

         I declare under penalty of perjury that the foregoing is true and correct. Executed on January 25,

 2024, in California.

                                                            ___________________________________
                                                            Francesca Germinario




                                                                                    Case No. 3:21-cv-08458-LB
___________________________________________________________________________________________________________
___________________________________________________________________________________________________________________
                                                                                           PROOF OF SERVICE
